 Case 0:01-cv-02086-DWF-AJB                   Document 350-4          Filed 08/31/2004            Page 1 of 2



102 Fed.Appx. 597                                                                                            Page 1
102 Fed.Appx. 597, 2004 WL 1398592 (9th Cir.(Ariz.))
(Cite as: 102 Fed.Appx. 597, 2004 WL 1398592 (9th Cir.(Ariz.)))


Briefs and Other Related Documents                         "catch-all" four-year statute of limitations, which
                                                           preempted application of Arizona's two-year statute
This case was not selected for publication in the          of limitations for personal injury claims. 28 U.S.C.A.
Federal Reporter.                                          § 1658; 42 U.S.C.A. § 1981.
                                                            *598 Stephen G. Montoya, Esq., Phoenix, AZ, for
                                                           Plaintiffs-Appellants.
Please use FIND to look at the applicable circuit
court rule before citing this opinion. (FIND CTA9          Lonnie J. Williams, Jr., Esq., Quarles & Brady
Rule 36-3.)                                                Streich Lang LLP, Phoenix, AZ, Laura M. Franze,
                                                           Esq., Akin Gump Strauss Hauer & Feld LLP, Dallas,
                                                           TX, for Defendants-Appellees.

           United States Court of Appeals,                  Appeal from the United States District Court for the
                   Ninth Circuit.                          District of Arizona, Earl H. Carroll, District Judge,
                                                           Presiding. D.C. No. CV-01-00449-EHC.
        Terrill LOVE, Plaintiff--Appellant,
                        v.
     PINNACLE NISSAN, INC.; ABC Nissan;                     Before: HAWKINS and W. FLETCHER, Circuit
      Automotive Investment Group, Inc.; and               Judges, and BREYER, District Judge. [FN*]
         VT, Inc., Defendants--Appellees.

                   No. 02-15511.                                    FN* The Honorable Charles R. Breyer,
                                                                    United States District Judge for the Northern
       Argued and Submitted May 13, 2003.                           District of California, sitting by designation.
        Submission Vacated May 22, 2003.
           Resubmitted June 22, 2004.
             Decided June 22, 2004.                                      MEMORANDUM [FN**]


Background: Former employee filed § 1981 racial                     FN** This disposition is not appropriate for
harassment and constructive discharge claim against                 publication and may not be cited to or by the
employer. The United States District Court for the                  courts of this circuit except as provided by
District of Arizona, Earl H. Carroll, J., dismissed                 Ninth Circuit Rule 36-3.
claim under Arizona's two -year statute of limitations
for personal injury claims, and employee appealed.
                                                            **1 Terrill Love filed a racial harassment and
 Holding:        The Court of Appeals held that            constructive discharge claim against Pinnacle Nissan
employee's claims were governed by federal "catch-         under the 1991 amendments to 42 U.S.C. § 1981.
all" four-year statute of limitations, which preempted     The district court dismissed Love's claim under
state statute of limitations.                              Arizona's two-year statute of limitations for personal
 Reversed.                                                 injury claims and Love appealed to this court. While
                                                           submission of the appeal was pending, the Supreme
                                                           Court decided Jones v. R.R. Donnelley & Sons, ---
                  West Headnotes                           U.S. ----, 124 S.Ct. 1836, --- L.Ed.2d ---- (2004),
                                                           holding that claims for racial harassment and
Civil Rights     1383                                      constructive discharge pursuant to a post-1990
78k1383 Most Cited Cases                                   amendment to § 1981 are governed by the federal
                                                           "catch-all" four-year statute of limitations, 28 U.S.C.
Former employee's claims for racial harassment and         § 1658, which preempts application of any state law
constructive discharge, pursuant to a post-1990            statutes of limitation. --- U.S. at ---- - ----, 124 S.Ct.
amendment to § 1981, were governed by federal              at 1844-46. We accordingly reverse the district


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 Case 0:01-cv-02086-DWF-AJB                 Document 350-4         Filed 08/31/2004   Page 2 of 2
102 Fed.Appx. 597                                                                           Page 2
102 Fed.Appx. 597, 2004 WL 1398592 (9th Cir.(Ariz.))
(Cite as: 102 Fed.Appx. 597, 2004 WL 1398592 (9th Cir.(Ariz.)))

court's dismissal of this case and remand for
proceedings in accordance with the proper statute of
limitations.

REVERSED.

102 Fed.Appx. 597, 2004 WL 1398592 (9th
Cir.(Ariz.))


Briefs and Other Related Documents (Back to top)


• 2002 WL 32290756 (Appellate Brief) Appellants'
Reply Brief (Oct. 08, 2002)Original Image of this
Document with Appendix (PDF)

• 2002 WL 32290755 (Appellate Brief) Brief of
Appellees Pinnacle Nissan, Inc., ABC Nissan, Inc.,
and Automotive Investment Group, Inc. (Aug. 30,
2002)Original Image of this Document with
Appendix (PDF)

• 2002 WL 32290754 (Appellate Brief) Appellants'
Opening Brief (Jul. 17, 2002)Original Image of this
Document with Appendix (PDF)

•               02-15511                   (Docket)
(Mar. 18, 2002)

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